92 F.3d 1180
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Moya MOORE, Petitioner-Appellant,v.STATE of North Carolina, on relation of James E. Long,Commissioner of Insurance of North Carolina,Respondent-Appellee.
    No. 96-6750.
    United States Court of Appeals, Fourth Circuit.
    Submitted July 23, 1996.Decided Aug. 6, 1996.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.  James C. Fox, Chief District Judge.  (CA-95-457-5-HC-F)
      Moya Moore, Appellant Pro Se.  Clarence DelForge, III, OFFICE OF THE ATTORNEY GENERAL OF NORTH CAROLINA, Raleigh, North Carolina, for Appellee.
      E.D.N.C.
      APPEAL DISMISSED.
      Before WIDENER, NIEMEYER, and MICHAEL, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on his petition filed under 28 U.S.C. § 2254 (1988), as amended by Antiterrorism and Effective Death Penalty Act of 1996, Pub.L. No. 104-132, 110 Stat. 1217.   We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, although we grant leave to proceed in forma pauperis, we deny a certificate of probable cause to appeal;  to the extent that a certificate of appealability is required, we deny such a certificate.  We dismiss the appeal on the reasoning of the district court.   Moore v. State of South Carolina, No. CA-95-457-5-HC-F (E.D.N.C. Apr. 16, 1996).  Furthermore, we deny Appellant's motion to appoint counsel.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    